                         UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                Case No. 3:18-cv-95

RAYMOND BENITEZ,
individually and on behalf of all others
similarly situated,

                               Plaintiff,
                                                    DISCLOSURE OF CORPORATE
                v.                                   AFFILIATIONS AND OTHER
                                                      ENTITIES WITH A DIRECT
THE CHARLOTTE MECKLENBURG                             FINANCIAL INTEREST IN
HOSPITAL AUTHORITY, d/b/a                                   LITIGATION
CAROLINAS HEALTHCARE SYSTEM,
ATRIUM HEALTH

                               Defendant.


       Although not required because The Charlotte-Mecklenburg Hospital Authority is a public

body, and a body corporate and politic, organized and existing under the Hospital

Authorities Act, N.C. Gen. Stat. § 131E–15 et seq., for the convenience of the court and pursuant

to Rule 7.1 of the Federal Rules of Civil Procedure, The Charlotte-Mecklenburg Hospital

Authority, through its undersigned counsel, hereby makes the following Corporate Disclosure

Statement:

       (1) Is the party a publicly held corporation or other publicly-held entity? No.

       (2) Does the party have any parent corporations? No.

       (3) Is 10% or more of the stock of a party owned by a publicly-held corporation or other

             publicly-held entity? No.




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This 30th day of April 2018.
                               /s/ James P. Cooney
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 30th day of April, 2018, the foregoing was served via

the Court’s CM/ECF system to all parties registered to receive such notice including:

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